     Case 1:08-cr-00139-PB   Document 36   Filed 07/27/09   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 08-cr-139-PB

Carl Connor et al.



                               O R D E R

     Defendant, Crystal Lopez, through counsel, has moved to

continue the trial scheduled for August 18, 2009, citing the need

for additional time to negotiate a plea agreement or prepare for

trial.    The government and co-defendants do not object to a

continuance of the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from August 18, 2009 to November 4, 2009.              In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
      Case 1:08-cr-00139-PB   Document 36   Filed 07/27/09   Page 2 of 2




      The July 27, 2009 final pretrial conference is continued to

October 19, 2009 at 4:30 p.m.

      No further continuances.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

July 27, 2009

cc:   Andrew Schulman, Esq.
      Dona Feeney, Esq.
      Paul Garrity, Esq.
      Richard Monteith, Esq.
      Terry Ollila, AUSA
      United States Probation
      United States Marshal




                                     2
